            Case 2:11-cr-00015-LDG-PAL           Document 148   Filed 09/29/11          Page 1 of 3
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     6                            UNITED STATES DISTRICT COURT

     7                                    DISTRICT OF NEVADA

     8 LINITED STATES OF AMERICA,                      )
                                                       )
     9                       Plaintiff,                )
                                                       )
    10         v.                            '
                                                       )        2:1I-CR-OIS-LDG (PAL)
                                                       )
    11 JOI4N W .BIRM ELE,JR.,                          )
                                                       )
    12                      D efendant.

    13                             FINAL ORDER O F FORFEITURE
    14         0n June 21,2O11,the United States DistrictCourtfor the DistrictofNevada entered a
    15 Prelim inary OrderofForfeiturepursuantto Fed.R. Crim.P.32.2(b)(1)and(2);Title2l,United

    16 StatesCode,Sections841(a)(1),(b)(1)(C)and (b)(1)(D);846,and853(a)(l),basedupontheplea
    17 ofguiltyby defendantJOHN W .BIRM ELE,JR.to crim inaloffenses, forfeiting speciticproperty

    18 alleged in thelndictmentand agreed to in thePlea M emorandum and shown by theUnited States
    19 to havetlw requisitenexustotheoffensetowbicl'
                                                   idefendantJOHN W . BIRM ELE,JR.pled guilty.
    20 Docket//42,$108,#109,//114.

    21         OnSeptember29,201ltheUnited StatesDistrictCourtfortheDistrictofNevadasignedan
    22 Am ended PreliminaryOrderofForfeiturepursuantto Fed.R.Crim . P.32.2(b)(1)and(2);Title21,

    23 United States Code,Sections 853(a)(1) and 853(a)(2);Title 18,United States Code,Section
    24 924(d)(1)andTitle28,United StatesCode,Section2461(c);Title18United StatesCode,Section
    25 924(2)(C)and(3)(B)andTitle28,UnitedStatesCode,Section2461(c);andTitle21,UnitedStates
    26 Code,Section881(11)andTitle28,UnitedStatesCode,Section 2461(c),based uponthepleaof
         Case 2:11-cr-00015-LDG-PAL         Document 148       Filed 09/29/11       Page 2 of 3



 1 guilty by defendantJOHN W .BIRM ELE,JR.to crim inaloffenses,forfeiting specitic property
 2 alleged in theIndictmentand agreed to in the PleaM em orandum and shown by the United States
 3 tohavetherequisitenexustotheoffensetowhich defendantJOI4N W .BIRM ELE,JR.pledguilty.               !
 4 D ocket#42,*108,//114.

 5          This Courtfinds the United States ofAmerica published the notice of the forfeiture in
 6 accordancewith the 1aw viatheofficialgovernm entinternetforfeiture site,w ww.forfeiturevgov,

 7 consecutively from June 25,2011,through to July 24,2011,notifying al1third partiesoftheirright
 8 to petition the Court. #132.
 9          ThisCourtfindsnopetition wasfiled herein byoron behalfofanyperson orentity and the

10 tim e fortiling such petitions and claim shasexpired.
11          ThisCourtlindsnopetitionsarependingwithregardtotheassetsnamedhereinandthetime

12 forpresenting such petitionshasexpired.
13          THEREFORE,IT IS HEREBY ORDERED,ADJUDGED,AND DECREED thatallright,
14 title,and interestin the property hereinafterdescribed iscondem ned,forfeited, and vested in the

15 United StatesofAmericapursuantto Fed,R.Crim.P.32.2(b)(4)(A)and (B);Fed.R.Crim.P.
16 32.2(c)(2);Title21,United StatesCode,Sections853(a)(1)and 853(a)(2);Title18,United States
17 Code,Section924(d)(1)andTitle28,United StatesCode,Section2461(c);Title18Unittd States
18 Code,Section924(2)(C)and(3)(B)andTitle28,UnitedStatesCode,Section2461(c);andTitle21,
19 UnitedStatesCode,Section 881(11)andTitle28,United StatesCode,Section2461(c);andTitle
20 21,UnitedStatesCode,Section 853(n)(7)and shallbedisposedofaccordingtolaw:
21          a.     $2,015.00 in U .S.Currençy;
22          b.     $1,807,00 in U .S.Currency;
23          c.     $48,920.00 in U.S.Currency;
24          d.     aRuger.38 cal,revolver,beming serialnumber540-48039;
25 ...                                                                          .




26 ...
         Case 2:11-cr-00015-LDG-PAL        Document 148       Filed 09/29/11     Page 3 of 3



 1         e.     aTaunzsPT709,9m m sem i-automatichandgun,bearing serialnum ber7D 082373)
 2                and

 3         f.     anyandal1ammunition Cpropertf).
 4         IT IS FURTHER ORDERED,ADJUDGED,AND DECREED thatany and allforfeited
 5 funds,including butnotlim ited to,currencyscurrency equivalents,certilicatesofdeposit, asw ell

 6 asany income derived asaresultofthe United StatesofAmerica'sm anagem entofany property
 7 forfeited herein,and the proceeds from the sale ofany fodkited property shallbe disposed of
 8 according to law .

 9         TheClerk ishereby directed to send copiesofthisOrderto allcounselofrecord and three
10 certified copiesto theUnited StatesAttom e 'sOffice.

11         DATEDthis V dayof                             'f.
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